                                                                                       Form 1                                                                                      Page: 1

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         19-50639 AMK                                                                  Trustee: (550340)           HAROLD A. CORZIN
Case Name:           BARCZAK, BENJAMEN J.                                                          Filed (f) or Converted (c): 03/25/19 (f)
                     BARCZAK, TINA M.                                                              §341(a) Meeting Date:       05/20/19
Period Ending:       05/29/19                                                                      Claims Bar Date:            09/03/19

                                1                                              2                          3                           4                     5                      6

                       Asset Description                                   Petition/             Estimated Net Value             Property             Sale/Funds              Asset Fully
            (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,       Abandoned             Received by          Administered (FA)/
                                                                            Values             Less Liens, Exemptions,      OA=§554(a) abandon.        the Estate           Gross Value of
Ref. #                                                                                             and Other Costs)                                                        Remaining Assets

 1       1290 EDGEWOOD LANE, STREETSBORO, OH 44241                           200,000.00                           0.00               OA                             0.00                  FA

 2       2011 HYUNDAI SONATA, 130000 MILES                                     3,200.00                           1.00                                              0.00                1.00

 3       2015 HYUNDAI S SONATA, 6000 MILES                                    10,000.00                           0.00                                              0.00                  FA

 4       HOUSEHOLD GOODS AND FURNISHINGS                                       2,500.00                           0.00                                              0.00                  FA

 5       WEARING APPAREL                                                       1,000.00                           0.00                                              0.00                  FA

 6       WEDDING RING                                                          1,500.00                           0.00                                              0.00                  FA

 7       HUNTINGON BANK CHECKING ACCOUNT                                       1,000.00                           1.00                                              0.00                1.00
           *Account statement not yet provided; value to estate
         currently unknown.

 8       HSA: OPTUM BANK                                                           100.00                         1.00                                              0.00                1.00
           *Account statement not yet provided; value to estate
         currently unknown.

 9       401 (K) AT MERRYL LYNCH THROUGH EMPLOYER                              7,000.00                           0.00                                              0.00                  FA

10       401 (K) AT ANCORA THROUGH EMPLOYER                                        350.00                         0.00                                              0.00                  FA

11       NATIONWIDE LIFE INSURANCE: HUSBAND                                          0.00                         0.00                                              0.00                  FA

11       Assets          Totals (Excluding unknown values)                 $226,650.00                           $3.00                                             $0.00               $3.00


     Major Activities Affecting Case Closing:
              Trustee will administer debtors' vehicle by means of redemption or liquidation as appropriate; Trustee will collect unexempt liquid assets if any.




                                19-50639-amk            Doc 17       FILED 05/29/19           ENTERED 05/29/19 12:05:44                   Page 1 of Printed:
                                                                                                                                                    2        05/29/2019 12:05 PM        V.14.50
                                                                                   Form 1                                                                             Page: 2

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:       19-50639 AMK                                                            Trustee: (550340)           HAROLD A. CORZIN
Case Name:         BARCZAK, BENJAMEN J.                                                    Filed (f) or Converted (c): 03/25/19 (f)
                   BARCZAK, TINA M.                                                        §341(a) Meeting Date:       05/20/19
Period Ending:     05/29/19                                                                Claims Bar Date:            09/03/19

                              1                                           2                       3                          4                    5                  6

                      Asset Description                                Petition/          Estimated Net Value             Property          Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned          Received by      Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.     the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                 Remaining Assets

    Initial Projected Date Of Final Report (TFR): October 31, 2020                     Current Projected Date Of Final Report (TFR): October 31, 2020




                              19-50639-amk            Doc 17   FILED 05/29/19         ENTERED 05/29/19 12:05:44                  Page 2 of Printed:
                                                                                                                                           2        05/29/2019 12:05 PM   V.14.50
